Case No. 1:21-cv-03043-GPG-STV Document 69-4 filed 09/19/22 USDC Colorado pg 1 of
                                     37




                    EXHIBIT C
Case No. 1:21-cv-03043-GPG-STV Document 69-4 filed 09/19/22 USDC Colorado pg 2 of
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                     IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF PUERTO RICO
                                       )
   THE PUERTO RICO PUBLIC              )
   HOUSING ADMINISTRATION,             )
   et al.,                             )                                      C
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         Plaintiffs,                   )                                 ~,:::::r‫וד‬
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               v.                      )    C. A. No. 96-1304 (PG}:=;::~c.,·;
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   UNITED STATES DEPARTMENT            )                                  ‫חדר‬u-=        :;;::    ‫דך‬


   OF HOUSING AND URBAN                )
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   DEVELOPMENT, et g],_.,              )                                      ‫ר‬         .‫ן‬::-
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                                       )                                                .:::--
         Defendants.                   )
                                       )

    DEFENDANTS' MOTION FOR PARTIAL DISMISSAL AND TO LIMIT DISCOVERY

         Plaintiffs have sued the United States Department of Housing

   and Urban Development and the Secretary of the United States

   Department of Housing and Urban Development (collectively "HUD"),

   asserting, inter alia, claims under Title VI of the Civil Rights

   Act of 1964, 42 U.S.C. § 2000d ( 11 Title VI"), Title VIII of the

   Civil Rights Act of 1964, 42 U.S.C. § 3601, et seg.              ("Title
   VIII"), the Equal Protection and Due Process Clauses of the Fifth

   and Fourteenth Amendments to the United States Constitution and

   the Administrative Procedure Act, 5 U.S.C. § 553, et seg.

   ("APA").

         With the exception of PRPHA and PRDH's claims under the APA,

   plaintiffs' complaint suffers from numerous legal deficiencies

   and should be dismissed.      First, Ms. Alameda lacks standing to

   pursue any f‫ ס‬these claims.       Second, sovereign immunity bars suit

   under any of the provisions cited by plaintiffs except the APA.

   Third, plaintiffs do not possess an implied right of acfif~', n um~P~OGE
                                                           1/i);~~ ‫ט‬-~
   either Title VI or Title VIII. Finally, since neither p PHA nor
                                                                       rsv--‫ד‬ir         . ----
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Case No. 1:21-cv-03043-GPG-STV Document 69-4 filed 09/19/22 USDC Colorado pg 3 of
                                     37




    PRDH is a   "person‫יי‬   within the meaning of the Equal Protection and
   Due Process Clauses, they cannot state claims under these
   provisions.     Nor can they pursue these claims on behalf of PRPHA
   tenants as such parens patriae suits do not lie against HUD, an
   agency of the United States.
         Accordingly, the only justiciable claims advanced in this
   proceeding are the APA claims stated by PRPHA and PRDH.            Under
   the applicable federal six-year statute of limitations, these APA
   claims are limited to final agency actions taken up to six years
   before the filing of this action in March 14, 1996.           Moreover,
   since this action involves only the limited inquiry conducted
   under the APA, this Court's review is restricted to the
   administrative records upon which HUD's various funding and
   related decisions were made, and discovery into extra-record
   materials is therefore inappropriate.
         WHEREFORE, HUD respectfully moves the Court to dismiss all
   claims asserted by plaintiffs except the APA claims stated by
   PRPHA and PRDH in Count IV of the Complaint.          HUD respectfully
   further moves the Court to order that the federal statute of
   limitations bars claims arising more than six years prior to the
   March 14, 1996, filing of this action; to require HUD to provide
   to PRPHA and PRDH only administrative records relevant to final
   agency actions not barred by the statute of limitations; and to
   prohibit forbid the parties from serving or otherwise engaging in
   discovery.



                                       - 2-
Case No. 1:21-cv-03043-GPG-STV Document 69-4 filed 09/19/22 USDC Colorado pg 4 of
                                     37

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         A proposed order and memorandum in support of this motion
   are submitted herewith.

   Dated:    Oct.   _f_,   1996        Respectfully submitted,
   OF COUNSEL:                         FRANK W. HUNGER
                                       Assistant Attorney General
   HOWARD SCHMELTZER
   MAURA MALONE                        GUILLERMO GIL
   Office of General Counsel           United States Attorney
   U.S. Department of Housing
        and Urban Development
   451 7th St., S.W.
   Washington, D.C.   20410               ~·d,J     ~ ·//cv‫ו‬c /J/.3A
                                                          1/)

   (202) 708-0300                      FIDEL SEVILLANO    '
                                       Assistant United States Attorney


                                          ~j    ~.r~            tP~
                                       MICHAEL SITCOV
                                       Assistant Branch Director
                                       LOIS BONSAL OSLER
                                       Trial Attorney
                                       U.S. Department of Justice
                                       Civil Division
                                       Federal Programs Branch
                                       901 E Street, N.W.
                                       Room 990
                                       Washington, D.C. 20530
                                       (202)   514-3770
                                       Attorneys for Defendant




                                        -3-
Case No. 1:21-cv-03043-GPG-STV Document 69-4 filed 09/19/22 USDC Colorado pg 5 of
                                     37
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                      IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF PUERTO RICO
                                            )
    THE PUERTO RICO PUBLIC                  )
    HOUSING ADMINISTRATION,                 )
    et al.,                                 )
                                            )
          Plaintiffs,
___/           v.
                                            )
                                            )
                                            )    C. A. No. 96-1304 (PG)
                                            )
   UNITED STATES DEPARTMENT                 )
   OF HOUSING AND URBAN                     )
   DEVELOPMENT, et al. ,                    )
                                            )

   ________________
      Defendants.                           )
                                            )

                     MEMORANDUM OF POINTS AND AUTHORITIES
                      IN SUPPORT OF DEFENDANTS' MOTION FOR
                    PARTIAL DISMISSAL AND TO LIMIT DISCOVERY

                                    I.    INTRODUCTION

         Citing allegedly unfairly low levels of federal

   subsidization dating back nearly three decades and a variety of

   constitutional and statutory theories, plaintiffs sue the United

   States Department of Housing and Urban Development and the

   Secretary of the United States Department of Housing and Urban

   Development (collectively "HUD"), asserting, inter alia, that HUD

   has discriminatorily shortchanged the Puerto Rico Public Housing

   Administration ( "PRPHA 11 ) •        Specifically, plaintiffs, PRPHA, the

   Puerto Rico Department of Housing ( 11 PRDH 11 ) and Myriam Alameda

   ("Alameda‫)יי‬   purport to state claims under Title VI of the Civil

   Rights Act of 1964, 42     u.s.c. § 2000d ("Title VI"), Title VIII f‫ס‬
   the Civil Rights Act of 1964, 42 U.S.C.            §   3601, et ~ -   ( 11 Title
   VIII 11 ) , the Equal Protection and Due Process Clauses of the Fifth
Case No. 1:21-cv-03043-GPG-STV Document 69-4 filed 09/19/22 USDC Colorado pg 6 of
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   and Fourteenth Amendrnents to the United States Constitution and
   the Administrative Procedure Act, 5 U.S.C. § 553, et seg.
   ( "APA") .

                   With the exception of PRPHA and PRDH's claims under the APA,
   plaintiffs' Complaint for Declaratory and Injunctive Relief
   (
       11
            Complaint 11 ) suffers from numerous legal deficiencies and should
   be dismissed.             First, Ms. Alameda lacks standing to pursue any of
   her claims.             Second, sovereign immunity bars suit under any of
   the provisions cited by plaintiffs except the APA.                 Third,
   plaintiffs do not possess an implied right of action under either
   Title VI or Title VIII.             Finally, since neither PRPHA nor PRDH is
   a        11
                 person 11 within the meaning of the Equal Protection and Due
   Process Clauses, they cannot state claims under these provisions.
   Nor can they pursue these claims on behalf of PRPHA tenants as
   such parens patriae suits do not lie against HUD, an agency f‫ס‬
   the United States.
                  Accordingly, the only justiciable claims advanced in this
   proceeding are the APA claims stated by PRPHA and PRDH.                 Under
   the applicable federal six-year statute of limitations, these APA
   claims are limited to final agency actions taken up to six years
   before the filing of this action on March 14, 1996.                Moreover,
   since this action involves only the limited inquiry conducted
   under the APA, this Court's review is restricted to the
   adrninistrative records concerning HUD's various funding and
   related decisions, and discovery into extra-record materials is
   therefore inappropriate.

                                              -2-
Case No. 1:21-cv-03043-GPG-STV Document 69-4 filed 09/19/22 USDC Colorado pg 7 of
                                     37

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              In short, stripped of its meritless claims and improper
    claimant, this complaint presents a simple APA case involving a
    quarrel over HUD's 1992 review of PRPHA's federal subsidy level.
    Accordingly, this Court's review is limited to the administrative
    records of HUD's recent decisions regarding the appropriate
    approach to, and calculation ‫ס‬f, funding levels for PRPHA.
                         II. STATUTORY AND FACTUAL BACKGROUND
          A.        Statutory and Regulatory Background
          Through a number of statutes, Congress has charged HUD with
   primary responsibility for providing housing subsidies for public
   housing authorities         ("PHAs‫)יי‬.   See, ~ , Complaint,         1 12. 1 Of
    relevance here, Congress empowered the Secretary of HUD to
   determine the annual operating subsidies paid to PHAs located
   throughout the United States and its territories (including the
   Commonwealth of Puerto Rico).            See 42 U.S.C.    §§   1437g(a) (1) (A)
   and 1437a(b) (7).        See also Complaint, 112.         These subsidies
   compensate PHAs for, among other matters, the shortfall between
   PHAs' annual operating expenses and PHAs' receipt of rent
   payments from tenants in the PHAs' housing.               See, ~ , id.,
   112.        ‫ס‬T   this end, HUD annually enters into Annual Contributions
   Contracts ("ACCs") with PHAs to ·provide for payment of subsidies
   by HUD to PHAs.         See 42 U.S.C.    §   14379.   See also Complaint,
   110.


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         Solely for purposes f‫ ס‬this motion, plaintiffs' factual
   allegations are taken as true. See Washington Legal Foundation
   v. Massachusetts Bar Foundation, 993 F.2d 962, 971 (1st Cir.
   1993) .
                                            -3-
Case No. 1:21-cv-03043-GPG-STV Document 69-4 filed 09/19/22 USDC Colorado pg 8 of
                                     37
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             In 1974, Congress enacted the Housing and Community
    Development Act of 1974, 42 U.S.C. § 1437g(a) (1), which, in

    relevant part, mandated that HUD adopt a new system for

    calculating PHAs' annual subsidies.              See Complaint, ‫ ד‬17. 2             In
    1975, HUD issued regulations establishing the Performance Funding

    System ( ‫ יי‬PFS )‫ וו‬under which HUD considered certain factors

   affecting PHAs' operating costs and approximated the costs which

   would be incurred by a hypothetical "well-manage d" PHA, as

   specifically required by statute. 3              See 42 U.S.C. § 1437g(a) (1);
   24 C.F.R. §§ 990, et seg.               See also Complaint,        ‫ד‬   18.   The PHAs of
   Guam, the Virgin Islands, Alaska and Puerto Rico were not

   included in the PFS.               See 24 C.F.R. § 990.103(b).           See also
   Complaint,     ‫ד‬   22.       Thus, with these four exceptions, HUD did and
   does use the PFS to calculate PHAs' annual subsidies.                        See id.,
   ‫דד‬   24-28.    Congress has never directed HUD          ‫ס‬t        include the PHAs of
   Guam, the Virgin Islands, Alaska or Puerto Rico in the PFS.                           See
   generally Complaint.

         Although a given PHA's other expenses are considered, the
   primary factor in the PFS calculation is a PHA's                       ‫יי‬allowable

   expense level"       ( ‫יי‬AEL") .     A PHA' s AEL is derived from that PHA' s

         2
         HUD includes a description of the development of PHA
   funding which predates March 1990 only for the Court's
   information. Reference to these events, which are time-barred
   and therefore non-justicia ble in this act·ion, should not be
   construed as an admission by HUD that plaintiffs may assert any
   claims based on HUD final agency actions which predate March
   1990. See § D(l), infra.
         3
         As plaintiffs themselves note, PRPHA is and has been a
   ‫יי‬troubled,"i.e., poorly managed, PHA rather than the type of
   well-managed PHA contemplated under PFS. See Complaint, ‫ ד‬67.

                                              -4-
Case No. 1:21-cv-03043-GPG-STV Document 69-4 filed 09/19/22 USDC Colorado pg 9 of
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    approved operating expenses during the PHA's base year, and is

    then adjusted for inflation.         The base year for PFS PHAs was
    1974.      See Complaint, 11 19-20.     Although Guam, the Virgin
    Islands, Alaska and Puerto Rico are         ‫יי‬non-PFS   PHAs"   ( ~ , not
    subject to PFS), in 1984 HUD nevertheless calculated approximate

   AELs based on data for the PHAs of Guam, the Virgin Islands, and

   Alaska.      See Complaint, , 24.      HUD did not, however, calculate an
   approximate AEL for the PRPHA until 1989.           See id.,     ‫ז‬   28.
            In 1988, Congress amended § 1437g to direct HUD to conduct a

   formal review of PHAs included in the PFS system (which, as noted

   above, did not and does not include Guam, the Virgin Islands,

   Alaska or Puerto Rico).         See 42 U.S.C. § 1437g(a) (3) (B) (iii).
   See also Complaint, , 27.         This review was intended to ensure
   that PFS PHAs' AELs accurately reflected their operating costs.

   See id.      In 1992, HUD irnplemented this review requirement through

   an optional review process based on a "formula expense level"

    (‫'י‬FEL")   calculation.    See id., , 30.    The FEL calculation
   assessed and assigned a weighted value to five aspects of a given

   PHA's characterist ics:

            (a) the number of pre-1940 rental units occupied by poor

   households as a percentage of the population of the community;

            (b) the local government wage rate index ( 11 LGWI 11 ) ;

          (c) the number of two-or-more bedroom units owned and

   operated by the PHA;

          (d) the ratio of three-or-mor e bedroom units to the total

   number of dwelling units owned by the PHA; and


                                         -5-
Case No. 1:21-cv-03043-GPG-STV Document 69-4 filed 09/19/22 USDC Colorado pg 10
                                    of 37

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            (e) the ratio of two-or-more bedroom units in high rise

   family public housing projects to the total dwelling units owned

   by the PHA.     See id., , 32.

            For th‫ס‬se PHAs which chose to participate in the FEL

   process, HUD determined, in essence, whether the PHA's FEL was

   less than 85% of its AEL.        See id., , 30.     If it was, the AEL was
   increased ‫ס‬t a level to equal 85% of the FEL.              See id.   Although
   PRPHA was not included in the PFS system and therefore was not

   covered by the 1988 amendments, HUD reviewed the PRPHA's

   estimated AEL (established in 1989) in conjunction with the

   optional review process.      See id., , , 30-31.         Based on this
   review, HUD determined not to apply all of the FEL factors as
   they were applied to the PFS-PHAs.          See id., , , 31-43, 47-53.
        B.      Plaintiffs' Claims

        As noted above, there are three plaintiffs in this action.

  Ms. Alameda is an Hispanic, Puerto Rican resident of public

  housing provided by PRPHA.         See id., , 4.     The two governmental
  plaintiffs, PRPHA and PRDH, are, respectively, a government

  instrumentality and an agency of the Commonwealth of Puerto Rico.

  See id., , , 2-3.      Each plaintiff purports to state constitutional

  and statutory challenges to HUD's calculation of PRPHA's

  subsidies over the past 25 years.           See id., , , 71-94. 4

        4
        In addition to their substantive claims, plaintiffs cite 28
  U.S.C. §§ 1331 and 2201, as well as the APA and 42 U.S.C.
  § 1404a, as jurisdictional bases for their suit.   Of these
  statutes, neither the APA nor § 2201 provides an independent
  basis for jurisdiction. See Califano v. Sanders, 430 U.S. 99,
  105 (1977) (~PA); Schilling v. Rogers, 36~ U.S. 666, 667
                                                       (continued ... )
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Case No. 1:21-cv-03043-GPG-STV Document 69-4 filed 09/19/22 USDC Colorado pg 11
                                    of 37
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                                   III.   ARGUMENT
                     PLAINTIFF ALAMEDA'S CLAIMS AS WELL AS
                  NON-APA CLAIMS OF PRPHA AND PRDH SHOULD BE
                DISMISSED AND THE APA CLAIMS SHOULD BE LIMITED
                TO FINAL AGENCY ACTIONS TAKEN SINCE MARCH 1990

            Plaintiffs articulate five legal bases for their claims:

   Title VI, Title VIII, the Equal Protection Clause, the Due

   Process Clause and the APA.         Under firmly established principles
   of standing, sovereign immunity, statutory construction and

   constitutional jurisprudence, only PRPHA and PRDH, on their own

   behalves, have standing, but these plaintiffs may only pursue

   claims under the APA.         Furthermore, these APA claims are limited
   to final agency actions HUD has taken over the six years

  predating the filing of this action, and the Court's review of

   these actions must be confined to the administrative records of

  HUD's decisions.          Therefore, Ms. Alameda should be dismissed as a
  plaintiff, PRPHA and PRDH's Title VI, Title VIII and

        4
         ( • • • continued)
   (1960) (Declaratory Judgment Act). Furthermore, § 1331 confers
  jurisdiction only if and to the extent that the United States has
  expressly waived sovereign immunity. See Robishaw Engineering.
  Inc. v. United States, 891 F. Supp. 1134, 1142 (E.D. Va. 1995)
   (§ 1331 "generally confers jurisdiction on federal courts to
  review agency actions and decisions" only where sovereign
  immunity waived); Hayes v. Federal Bureau f‫ ס‬Investigation, 562
  F. Supp. 319, 322 (S.D. N.Y. 1983) ("broad jurisdictional statutes
  like 28 U.S.C. § 1331 do not operate -- in and of themselves --
  as waivers of sovereign immunity . . . The plaintiff, therefore,
  must look beyond the jurisdictional provision[s] -- to the
  statute which supplies the substantive basis of [plaintiff's]
  claim -- for a waiver of sovereign immunity."). Finally, § 1404a
  provides a very limited waiver of sovereign immunity for HUD by
  permitting the agency to be sued "‫ס‬nly with respect to its
  functions under the United States Housing Act," but does not
  itself vest jurisdiction in the district court. See, .§.......,g_._,
  Portsmouth Redevelopment and Housing Authority v. Pierce, 706
  F.2d 471, 475 (4th Cir.), cert. denied, 464 U.S. 960 (1983).

                                          -7-
Case No. 1:21-cv-03043-GPG-STV Document 69-4 filed 09/19/22 USDC Colorado pg 12
                                    of 37

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   constitutional claims should be dismissed and no discovery should

   be permitted.

        A.    Standards for Dismissal
              Under Rules 12(b) (1) and 12(b) (6)

        Pursuant to Rule 12(b) (1), Fed. R. Civ. P., a litigant's

   claims must be dismissed if the court lacks jurisdiction over the

   subject matter of the claim.             See, ~ , Barrios v. Aeela, 84

   F.3d 487, 489-490        (1st Cir. 1996).       See also National Association

   for Mental Health, Inc. v. Califano, 717 F.2d 1451 (D.C. Cir.

   1983), cert. denied, 469 U.S. 817 (1984).             Under Rule 12(b) (6), a

   claim mus't be dismissed if it fails to state a basis upon which

   relief may be granted.        See Rule 12(b) (6).      Under both rules, the

  court takes those allegations of the complaint as true and views

  the allegations in the light most favorable 'to the claimant.

  See, ~ , Hart v. Mazur, 903 F. Supp. 277, 279 (D.R.I. 1995) . 5

  The court need not, however,         11
                                            accept a complainant' s unsupported

  conclusions or interpretations of law. 11            Washington Legal

  Foundation v. Massachusetts Bar Foundation, 993 F.2d at 971.




        5
        Where, as here, a 11 facial 11 attack is made to standing based
  on the allegations of the complaint, the Court's review under
  Rule 12(b) (1) is limited to the four corners of the complaint.
  See, ~ , RMI Titanium Co. v. Westinghouse Electric Co;r:r‫כ‬., 78
  F.3d 1125, 1134 (6th Cir. 1996).

                                             -8-
Case No. 1:21-cv-03043-GPG-STV Document 69-4 filed 09/19/22 USDC Colorado pg 13
                                    of 37
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         B.   The Court Lacks Subject Matter Jurisdiction
              Over Ms. Alameda's Claims and Over the
              Title VI. Title VIII and Constitutional Claims

              1.      Ms. Alemeda Lacks Standing and
                      Her Claims Should Be Dismissed

                      a.          Principles of Standing

         Standing to sue is            a‫יי‬   threshold issue [] determining whether

   the court has the power to hear the case."                   Libertad v. Welch, 53
   F.3d 428, 437 (1st Cir. 1995).                As demonstrated below, Ms.

   Alemeda lacks standing because she has not suffered an alleged

   injury in fact traceable to HUD's actions and any relief granted

   by this Court would not be likely to redress her alleged injury.

        Federal courts lack subject matter jurisdiction over, and

   therefore must dismiss, actions which do not present a

   justiciable     ‫יי‬case       or controversy. 11    See, ~ , O'Shea v.
  Littleton, 414 U.S. 488, 493 (1974) (jurisdiction of federal

   courts is dependent on an actual               ‫יי‬case   or controversy . . .

  Plaintiffs in the federal courts 'must allege some threatened or

  actual injury resulting from the putatively illegal action before

  a federal court may assume jurisdiction.' 11 ) (quoting Linda R.S. v.

  Richard D., 410 U.S. 614, 617 (1973) (footnote omitted)); DeFunis

  v. Odegaard, 416 U.S. 312, 316 (1974) (same).                  Accordingly, where

  a plaintiff does not properly plead sufficient facts to support

  his or her standing, the action should be dismissed for lack of

  subject matter jurisdiction.                 See, ~ , City of Los Angeles v.

  Lyons. 461 U.S. 95, 101 (1983).                 As the Supreme Court has stated:




                                                -9-
Case No. 1:21-cv-03043-GPG-STV Document 69-4 filed 09/19/22 USDC Colorado pg 14
                                    of 37

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          In its constitutional dirnension, standing irnports
          justiciability: whether the plaintiff has rnade out a 'case
          or controversy' between hirnself and the defendant within the
          rneaning of Art. III. This is the threshold question in
          every federal case, deterrnining the power of the court to
          entertain the suit.
   Warth v. Seldin, 422 U.S. 490, 498-99 (1975).             Explaining this
   ‫יי‬bedrock   principle," the Suprerne Court held:
           [A]t an irreducible rninirnurn, Art. III requires the party who
          invokes the court's authority to 'show that he personally
          has suffered sorne actual or threatened injury as a result of
          the putatively illegal conduct of the defendant,' and that
          the injury 'fairly can be traced to the challenged action'
          and 'is fairly likely to be redressed by a favorable
          decision' . . .
   Valley Forge Christian College v. Arnericans United for Separation
   of Church and State, 454 U.S. 464, 472 (1982) (footnotes and
   citations ornitted).
          To satisfy Article III' s    ‫יי‬case   or controversy‫ יי‬requirernent,
  a plaintiff rnust establish the elernents of his or her standing to
   sue.    First, the plaintiff rnust show that he or she has suffered
  an   ‫יי‬injury   in fact," i:e., an   ‫יי‬actual   or threatened injury as a
  result of the putatively illegal conduct of the defendant."
  Valley Forge, 454 U.S. at 472 (quoting Gladstone Realtors v.
  Village of Bellwood, 441 u.s. 91, 99 (1979)).              See also Lujan v.
  Defenders of Wildlife, -- U.S. --, 112 S.Ct. 2130 (1992).              The
   ‫יי‬injury   in fact‫ יי‬required for standing rnust be imrnediate,
  objective, and concrete, see, ~ , City of Los Angeles v. Lyons,
  461 U.S. 95, 102 (1983); Sirnon v. Eastern Kentucky Welfare Rights
  Organization, 426 U.S. 26, 40 (1976); O'Shea v. Littleton, 414
  U.S. 488, 494-99 (1974), rather than rnerely speculative,


                                       -10-
Case No. 1:21-cv-03043-GPG-STV Document 69-4 filed 09/19/22 USDC Colorado pg 15
                                    of 37

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   subjective or abstract.             See, ~ , City of Los Angeles v. Lyons,
   461 U.S. at 101-02, 107 n.8.

           Second, the standing doctrine mandates that federal court

   jurisdiction be invoked only where the plaintiff's "injury in

   fact"    ‫ יי‬f airly   can be traced to the challenged action. 11            Valley
   Forge, 454 U.S. at 472 (quoting Eastern Kentucky, 426 U.S. at

  38).      Requiring that a direct, causal relationship exist between

  the alleged illegal conduct and the alleged palpable injury

  ensures that the injuries do not result from independent action.

  Eastern Kentucky, 426 U.S. at 41-42.               In short, the plaintiff
  must make a       ‫יי‬reasonable      showing that 'but for' defendants' action

  the alleged injury would not have occurred. 11                 Comrnunity Nutrition
  Institute v. Block, 698 F.2d 1239, 1247 (D.C. Cir. 1983), rev'd

  on other grounds, 467 U.S. 340 (1984).               Consequently, a plaintiff
  lacks standing where the court must accept speculative inferences

  and assumptions in order to connect the alleged injury with the

  challenged activity.              Winpisinger v. Watson, 628 F.2d 133, 139

   (D.C. Cir.), cert. denied, 446 U.S. 929 (1980).

           Finally, the alleged concrete injury must be              11
                                                                          likely to be
  redressed by a favorable decision. 11             Valley Forge, 454 U. S. at

  472.      Of paramount significance in this action, the
  11
       redressability 11 element of standing is not satisfied unless the

  relief sought is         11
                                likely 11 to follow from a favorable decision.

  Eastern Kentucky, 426 U.S. at 38.




                                             -11-
Case No. 1:21-cv-03043-GPG-STV Document 69-4 filed 09/19/22 USDC Colorado pg 16
                                    of 37


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                      b.         Ms. Alemeda Does Not Have Standing
          Ms. Alemeda alleges that she is an Hispanic, Puerto Rican

   resident in public housing provided by PRPHA.                  See Complaint,
   ‫ ד‬4.    In the vaguest of terms, Ms. Alemeda asserts that her
   living conditions -- in an unidentified PRPHA public h‫ס‬using

   project and over an unspecified period of time -- have

   deteriorated as a result of HUD's alleged underfunding of PRPHA.

   See Complaint,     ‫דז‬       61, 83 and 89.     Ms. Alemeda does not purport to
   sue on behalf of any other public housing residents.                  See
   generally Complaint.

          Under the principles outlined above, Ms. Alemeda has failed

   to offer allegations sufficient to demonstrate standing.                    Most
  glaringly, Ms. Alemeda has not alleged any facts that establish a

  direct link between HUD funding levels for PRPHA and her alleged

  injury -- the purported failure of PRPHA to provide services and

  conditions    ‫ס‬t   which she claims to be entitled.             As noted above,
  the causation component of the standing doctrine mandates that a

  plaintiff must demonstrate that his or her alleged injury                    ‫יי‬fairly

  can be traced to the challenged action‫ יי‬of the defendant.

  Eastern Kentucky. 426 U.S. at 41-42.               It is insufficient for
  standing purposes merely to assert that the challenged action

  might have influenced the factors resulting in the alleged injury

  to the plaintiff if the alleged injury is just as likely to

  result from independent, intervening causal factors.                  The Supreme
  Court has consistently abided by this tenet.                   See, ~ , Eastern
  Kentucky: Allen v. Wright, 468 U.S. 737 (1984).


                                           -12-
Case No. 1:21-cv-03043-GPG-STV Document 69-4 filed 09/19/22 USDC Colorado pg 17
                                    of 37

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           Ms. Alemeda's alleged concerns simply are not fairly

   traceable    ‫ס‬t   HUD's supposed underfunding of PRPHA.             For example,
   Ms. Alemeda makes no assertion that PRPHA or any other entity
   advised her that the allegedly deteriorating conditions in PRPHA

   houstng were due to a lack of funding from HUD.                  Indeed, the
   allegations of the Complaint demonstrate that it is PRPHA's

   decisions regarding how and where to spend its HUD subsidies

   which have directly resulted in Ms. Alemeda's alleged

   difficulties.      In this regard, PRPHA states that it uses its
   federal subsidy to operate 332 public housing projects comprising

   57,345 housing units. See Complaint, ‫ זז‬2, 10.                  The PRPHA's
   public housing tenant population tops 250,000.                  See id.,   .‫ז‬   2.
   Unquestionably, PRPHA determines how to divide between these

   projects and these tenants the annual federal subsidy which PRPHA

   receives from HUD.             Thus, decisions concerning use of federal
   subsidies rest with PRPHA, not HUD.              Therefore, Ms. Alemeda's
   claims involve not HUD's actions, but the failure of PRPHA to

  dedicate funding to the anonymous housing project in which she

   resides.     Therefore, since PRPHA, not HUD, controls the services,

   conditions and facilities available             ‫ס‬t   Ms. Alameda, her purported
   injuries are not traceable to any actions by HUD.

           Turning to "redressability, ‫ וו‬the courts have observed that

  mere allegations of redressability will not suffice.                   Instead,
   ‫וו‬the   Supreme Court has explicitly interpreted the standard for

  redressability as 'substantial            likelihood.‫ווי‬     [cite to be




                                            -13-
Case No. 1:21-cv-03043-GPG-STV Document 69-4 filed 09/19/22 USDC Colorado pg 18
                                    of 37


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   supplied] at 670 (quoting Duke Power Co. v. Carolina

   Environmenta l Study Group. 438 U.S. 59, 75 n.20 (1975)).

         As noted above, PRPHA operates hundreds of housing

   developments and thousands of rental units.         PRPHA also services
   hundreds of thousands of individual tenants.            Consequently , there
   is no basis for believing that Ms. Alameda's alleged injuries

   inadequate services and facilities -- will be affected by any

   relief granted in this action.       Moreover, the Complaint is devoid
   of any allegation that Ms. Alameda would directly receive any

   benefit from increased PRPHA funding.        Thus, it is entirely
   speculative that her alleged injury would be redressed in any way

   whatsoever should the Court order HUD to recalculate PRPHA's

   funding level.     PRPHA would be entirely free to devote any and
   all increased funding it might be awarded in this litigation to

   other operations, or to 331 projects which PRPHA manages and

   claims are in disrepair, instead of to Ms. Alemeda's unit or even

   her project.     Indeed, PRPHA affirmativel y alleges that the

   additional funding it seeks through this action will be devoted

   to improving its management infrastructu re.        See Complaint,
   , , 62, 66.

        Thus, it is problematic at best to suggest that a court
   order raising PRPHA's funding level would have any impact

  whatsoever on Ms. Alemeda's particular public housing unit.             As
   the Supreme Court has held,     "unadorned speculation will not
  suffice to invoke the federal judicial power. 11          Eastern Kentucky,
  426 U.S. at 44.     Since the Complaint does not demonstrate that an


                                      -14-
Case No. 1:21-cv-03043-GPG-STV Document 69-4 filed 09/19/22 USDC Colorado pg 19
                                    of 37

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   order of this Court granting in full the relief against HUD

   requeste d in the Cornplai nt would redress Ms. Alarneda 's alleged

   injury, she has not satisfie d the requirem ents for standing .

   Because she plainly lacks standing , the Court lacks jurisdic tion

   over any f‫ ס‬her clairns. 6

                 2.   Sovereig n Immunity Bars Plainti ffs' Non-APA Claims
            Even assumin g that Ms. Alemeda possesse s standing , her Title

   VI and Title VII claims, as well as her constitu tional claims,

   and those of her co-plai ntiffs, are barred by the doctrine of

   sovereig n immunity and this Court accordin gly lacks subject

   matter jurisdic tion over such clairns.         This action is, of course,
   against an agency of the United States.           See Complai nt, ‫ י‬5 ( 11 HUD
   is a federal agency of the United States" ).          The Supreme Court
   has treated as     11
                           axiornat ic that the United States may not be sued
   without its consent and that the existenc e of consent is a

  prerequ isite for jurisdic tion. 11        United States v. Mitchel l, 463
  U.S. 206, 212 (1983).            See also Lane v. Pena, -- U.S. --, 116 S.
  Ct. 2092 (1996); United States v. Nordic Village . Inc., 503 U.S.

  30 (1992); United States v. Testan, 424 U.S. 392, 399 (1976).

  Unless there is express evidence of consent to be sued, suits

  against the sovereig n accordin gly must be dismisse d under Rule

  12(b) (1) for lack of subject- matter jurisdic tion.          See, ~ ,
  United States v. Sherwoo d, 312 U.S. 584, 586 (1941) (the           11
                                                                           terms of
   [the United States'] consent to be sued in any court define the

        6
        Even if Ms. Alameda possesse d standing , her non-APA claims
  sh‫ס‬uld be dismisse d for the reasons stated infra concern ing the
  claims of her co-plai ntiffs.

                                          -15-
Case No. 1:21-cv-03043-GPG-STV Document 69-4 filed 09/19/22 USDC Colorado pg 20
                                    of 37

                          (                             ,1




    court's jurisdic tion to entertai n the suit").          Such consent
    cannot be irnplied but rnust be explici tly stated and narrowly
    construe d.     See Lane v. Pena, 116 S. Ct. at 2096; United States
   v. Testan, 424 U.S. at 399; Affiliat ed Ute Citizens v. United
   States, 406 u.s. 128, 141 (1971); United States v. King, 395 u.s.
   1, 4 (1969).
             Neither Title VI 7 nor the statutor y provisio n in Title VIII
   on which plainti ffs rely8 contains an explici t, indepen dent
   waiver of sovereig n irnrnunity which would allow plainti ffs to sue
   HUD under those provisio ns.       See Drayden v.   Needvil le
   Indepen dent School Distric t, 642 F.2d 129, 133 n.6 (5th Cir.
   1981) ( ''There is no statutor y waiver of sovereig n irnrnunit y in
   Title VI cases"); Unimex, Inc. v. U.S. Dept. of Housing and Urban
   Develop ment, 594 F.2d 1060, 1061 (5th Cir. 1979) ("the United
   States has not consente d to suit under the civil rights
   statutes‫;)יי‬    United States v. Yonkers Board of Educatio n, 594 F.
   Supp. 466 (S.D.N.Y . 1984) (Title VI claim barred by sovereig n
   irnrnunit y).   Similar ly, the bar of sovereig n irnrnunit y extends to
  plainti ffs' purporte d constitu tional clairns.      See, ~ , United


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        Title VI provide s: "N‫ ס‬person in the United States shall,
  on the ground of race, color, or nationa l origin, be excluded
  from particip ation in, be denied the benefit s of, or be subjecte d
  to discrim ination under any program or activity receivin g Federal
  financi al assistance.‫יי‬
         8
        Plainti ffs specifi cally rely on § 3608(e) of Title VIII,
  see Complai nt, 1 79, which provide s, in relevan t part, that the
  Secreta ry of HUD ‫יי‬shall . . . adrninis ter the program s and
  activit ies relating to housing and urban developr nent in a rnanner
  affirrna tively to further the policies of this subchapter.‫ יי‬42
  U.S.C. § 3608(e) (5). See Complai nt, ‫ ד‬79.

                                       -16-
Case No. 1:21-cv-03043-GPG-STV Document 69-4 filed 09/19/22 USDC Colorado pg 21
                                    of 37

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   States v. Timmons , 672 F.2d 1373, 1380 (11th Cir. 1982) (‫יי‬claims
   based directly on Fifth Amendment violatio ns are likewise barred
   by the doctrine of sovereig n immunity‫ ;)יי‬Jaffee v. United States,
   592 F.2d 712, 718 (3d Cir. 1979) (rejecti ng claim against United
   States for deliber ate violatio n of constitu tional rights, noting
   ‫[יי‬t]he   repeated staterne nts of the Suprerne Court from its
   inceptio n [] are plain and unequiv ocal: the United States is
   subject to suit only by its consent ); Forbes v.          lliill,Q,   893 F.
   Supp. 476, 482 (W.D. Pa. 1995) ( 11 Because there is no basis for a
   waiver of sovereig n immunity , Forbes' atternpt s to assert a cause
   of action directly against the United States for alleged
   violatio n of the Fifth, Thirteen th and Fourtee nth Amendme nts
   . fail for lack of jurisdic tion. 11 ) ; Benvenu ti v. Departm ent of
   Defense , 587 F. Supp. 348, 352 (D.D.C. 1984) ( 11 None of the
   statutes cited by plainti ff -- the general federal question
  provisio n [] and the All Writs and Declara tory Judgmen t Acts [] -
   - nor the Constit ution itself - - operate as such waivers‫ יי‬of
  sovereig n immunity ) (citatio ns ornitted ); Kelly v. United States,
  512 F. Supp. 356, 362 (E.D. Pa. 1981) ( 11 Even where there exists a
  direct cause of action under the Constit ution, the United States
  is not liable for the depriva tion of constitu tional rights unless
  it has waived immunity from suit‫)יי‬.
        Thus, plainti ffs' Title VI, Title VIII and constitu tional
  claims against HUD are barred under the doctrine of sovereig n
  immunity and this Court lacks subject matter jurisdic tion to
  conside r them.


                                     -17-
Case No. 1:21-cv-03043-GPG-STV Document 69-4 filed 09/19/22 USDC Colorado pg 22
                                    of 37


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               C.    Plaintiff s Have Not Stated Claims
                     Under Title VI, Title VIII, the Equal
                     Protectio n Clause or the Due Process
                     Clause Upon Which Relief Can Be Granted
         As noted above, Rule 12(b) (6) mandates dismissal where a

   litigant fails to state a claim upon which relief can be granted.

   Under this rule, only PRPHA and PRDH's APA claims survive.

                     1.    Title VI Does Not Apply
                           to the Federal Governmen t
         Leaving aside for the purposes      f‫ס‬   argument the bar of
   sovereign immunity, plaintiff s would be entitled to sue the

   federal governmen t directly under Title VI only if that statute

   gave them a right to do so.       It does not, and plaintiff s' Title
   VI claims therefore must be dismissed under Rule 12(b) (6).

         The fact that a federal statute may have been violated and

   some person harmed "does not automatic ally give rise to a private

   cause of action in favor of that person."         Cannon v. Universit y
   of Chicago, 441 u.s. 677, 688 (1979).          "The federal judiciary
   will not engraft a remedy onto a statute, no matter how salutary,

   that Congress did not intend ‫ס‬t provide.‫יי‬        Californi a v. Sierra
   Club, 451 U.S. 287, 297 (1981).

        As noted above, Title VI does not explicitly provide

   plaintiff s a right to sue the federal governmen t for failing to

   enforce the statute.     While the absence of an express right of
  action in the statute would not be dispositiv e if plaintiff s

   could establish that a private right of action is implied in the

  statute, they face a difficult burden in this regard, Middlesex

  County Sewerage Authority v. National Sea Clammers Associatio n,


                                      -18-
Case No. 1:21-cv-03043-GPG-STV Document 69-4 filed 09/19/22 USDC Colorado pg 23
                                    of 37

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   453 U.S. 1, 14-15 (1981), a burden that cannot be rnet in this
   case.
           Indeed, the burden applicabl e to plaintiff s here is even
   greater than that which rnust be borne by a party seeking to sue a
   private entity or individua l on an          ‫יי‬implied   right of action‫יי‬
   theory.    The farniliar four-part test enunciate d by the Supreme
   Court in Cort v. Ash, 422 U.S. 66 (1975), under which private
   rights of action against private parties may be inferred in
   federal statutes, does not squarely fit a case brought against
   the federal governmen t.
        A private right of action may be implied against a non-
        governmen tal defendant even though the statutory language
        grants no such right explicitly and the legislativ e history
        is silent on Congress' intent to provide it. A silent
        statute and silent legislativ e history, however, cannot
        justify implying a private right of action against the
        United States because Congress must unequivoc ally express
        its intent to create such a right.
  Doe v. Attorney General of the United States, 941 F.2d 780, 789
   (9th Cir. 1991) (citations omitted).          As this Circuit has
  forcefully stated en banc,      ti‫יי‬   rarely rnakes sense to find that a
  substanti ve statute creates an 'implied private right of action'
  against the federal governmen t for relief from unlawful
  regulator y action," given that judicial review of federal agency
  action is generally available under the APA.               Cousins v.
  Secretary of U.S. Dep't of Transport ation, 880 F.2d 603, 606 (1st
  Cir. 1989) (en banc) (Breyer, J.).        To do so would vitiate
  Congress' effort to create, though the APA, ''a single unified
  method for review of agency action."            Id. at 605.     See also id.
  (APA designed to create a      ‫יי‬system   of administr ative law that
                                         -19-
Case No. 1:21-cv-03043-GPG-STV Document 69-4 filed 09/19/22 USDC Colorado pg 24
                                    of 37

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    seeks regularity . . . securely embraced within the uniform

   procedural confines of the APA. 11 ) . Accordingly, as this Circuit
   correctly noted,

         In fact, it is difficult to understand why a court would
         ever hold that Congress, in enacting a statute that creates
         federal obligations, has implicitly created a private right
         of action against the federal government, for there is
         hardly ever any need for Congress to do so [because under
         the APA] federal action is nearly always reviewable for
         conformity with statutory obligations without any such
         'private right of action.'

   N.A.A.C.P. v. Secretary of Housing and Urban Development, 817

   F.2d 149, 152 (1st Cir. 1987) (Breyer, J.).

         For this reason, courts have rejected litigants' efforts to
   sue the federal government under a purported implied private

   right of action under Title VI.       For example, in Women's Equity
   Action League (WEAL) v. Cavazos, 906 F.2d 742 (D.C. Cir. 1990),

   Judge (now Justice) Ruth Bader Ginsburg confronted head-on the
   assertion of a private right of action to sue the federal

   government to compel enforcement of Title VI and determined that

   there is no such right of action.

        Judge Ginsburg premised her decision largely on the Supreme

   Court's opinion in Cannon v. University of Chicago, 441 U.S. 677

   (1979).   In that case, the Supreme Court analyzed the

   availability of relief for the victim of discriminatio n in a

   federally-fun ded program.     The precise issue in Cannon was
  whether an implied private right of action permits a lawsuit

  against a recipient of federal funding under Title IX of the

  Education Amendments of 1972.       Although Title IX relates to sex
  discriminati on in educational programs, and not to racial or

                                      -20-
Case No. 1:21-cv-03043-GPG-STV Document 69-4 filed 09/19/22 USDC Colorado pg 25
                                    of 37

                       (                               {


    nation al origin discrim ination in federa lly funded program s

    genera lly or HUD program s in partic ular, Title IX was pattern ed

   after Title VI in all releva nt respec ts.       441 U.S. at 694.
   Conseq uently, the legisla tive backgro und of Title VI provid ed the

   primar y analyt ical framew ork for the Court' s consid eration in

   Cannon .

         Relyin g on that legisla tive history , the Court conclud ed
   that the statut e did author ize suit direct ly agains t the non-

   federa l discrim inating entity .     In so doing, howeve r, the Court
   clearly restric ted the reach of such a suit to that entity , and

   not to the federa l govern ment.      As the Court explain ed,
          [i]n its final form, [Title VI] was far more conduc ive to
         implic ation of a privat e remedy agains t a discrim inatory
         recipi ent than was the origin al langua ge, but at the same
         time was arguab ly less conduc ive to implic ation of a privat e
         remedy agains t the Govern ment (as well as the recipie nt) to
         compel the cutoff of funds.
   441 U.S. at 677 (empha sis in origin al).      Writin g in WEAL, Judge
   Ginsbu rg explain ed the Suprem e Court' s dictum in the follow ing

   terms:

        The Cannon opinio n contra sts two privat e remedi es: suit
        agains t a discrim inatory fund recipie nt to termin ate the
        offend ing discrim ination ; and suit agains t the governm ent to
        termin ate federa l fundin g. The Court found strong suppor t
        in legisl ative histor y for the former , but resista nce on the
        part of lawmak ers toward the latter .
  906 F.2d at 750.

        This Circui t has strong ly intima ted that there is no right
  to sue the federa l governm ent under Title VI.          Cousin s v. U.S.
  Dep't of Transp ortatio n, 880 F.2d 603, 607 (1st Cir. 1989) (en

  banc) (no privat e right of action to obtain judici al superv ision


                                       -21-
Case No. 1:21-cv-03043-GPG-STV Document 69-4 filed 09/19/22 USDC Colorado pg 26
                                    of 37


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   of federal funding agency under § 504 of Rehabilit ation Act,

   which is modeled after Title VI).           Other courts have agreed that
   no private right of action against the federal governmen t exists

   under either Title VI itself or under statutes modeled upon Title

   VI.   See Marlow v. U.S. Dep't of Education , 820 F.2d 581, 583              (2d
   Cir. 1987), cert. denied, 484 U.S. 1044 (1988); Salvador v.

   Bennett, 800 F.2d 97, 99 (7th Cir. 1986); Grimes v. Cavazos, 786

   F. Supp. 1184, 1189-91 (S.D. N.Y. 1992) . 9

         Finally, plaintiff s cannot attack HUD for alleged failure to

   comply with Title VI through their APA claims.           As noted above,
   Title VI supports a cause of action against a recipient of

   federal funds.     See. ~ , Cannon v. Universit y of Chicago, supra
   (finding private right of action against education al institutio n

   receiving federal funds).       HUD is not a    ‫יי‬recipient‫יי‬   of federal
   funds within the meaning of Title VI.          See 24 C.F.R. §
   1.2(f) (defining   ‫יי‬recipient‫)יי‬.   Therefore , HUD is not subject to



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        The WEAL court did mention several pre-Canno n cases which
  seem at least to assume the existence f‫ ס‬a Title VI private right
  of action to sue the federal governmen t, including Garrett v.
  City of Hamtramck , 503 F.2d 1236 (6th Cir. 1974). Judge Ginsburg
  suggested that those cases could be distinguis hed on the ground
  that they involved narrowly focused situation -specific claims of
  failure to enforce civil rights statutes, while the allegation s
  in WEAL were very broad-bas ed.  In Abramson v. Bennett, 707
  F.Supp. 13 (D.D.C.), aff'd, 889 F.2d 291 (D.C. Cir. 1989),
  though, the court held that a narrowly focused attempt ‫ס‬t force
  the federal governmen t to enforce Title VI cannot succeed for
  lack of a private .right of action. Thus, whether a case is broad
  or narrow in scope, the post-Cann on rule should be that Title VI
  does not provide a private right of action. But see Young v.
  Pierce, 544 F.Supp. 1010 (E.D. Tex. 1982) (holding that there is
  a private right of action to sue federal governmen t under Title
  VI).

                                        -22-
Case No. 1:21-cv-03043-GPG-STV Document 69-4 filed 09/19/22 USDC Colorado pg 27
                                    of 37



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    suit under Title VI because HUD is not a recipien t of federal

    funds.

          As the precedin g discussi on demonst rates, the conclusi on
    that plainti ffs have no right to sue the federal governm ent

    directly under Title VI is inescapa ble.       Therefo re, plainti ffs'
    Title VI claims should be dismisse d.

               2.     No Private Right of Action Against the
                      Federal Governm ent Exists Under Title VIII
         As noted earlier, plaintif fs also purport to bring this
   action under Title VIII, and specific ally under § 3608(e) .

         The short, conclus ive answer to this argumen t [] is that
         [the First Circuit] has recently held that Congres s did not
         create any such direct private right f‫ ס‬action under Title
         VII.
   N.A.A.C .P. v. Secreta ry of H‫ס‬using and Urban Developm ent, 817

   F.2d 149, 152 (1st Cir. 1987).       See also Latinos Unidos de
   Chelsea v. Secreta ry of Housing and Urban Develop ment, 799 F.2d.

   774, 791-793     (1st Cir. 1986) (finding no private right of action
   against HUD under Title VIII and holding that HUD's failure to

   comply with Title VIII only may be attacked through an APA

   claim).   Numerou s other courts have reached the same conclusi on
   for Title VIII claims (includi ng, specific ally, § 3608(5) ).        See,
   ~ , Pleune v. Pierce, 687 F. Supp. 113, 119-20 (E.D. N.Y.

   1988) (collect ing cases).    Therefo re, plainti ffs simply cannot
   proceed under this provisio n.




                                      -23-
Case No. 1:21-cv-03043-GPG-STV Document 69-4 filed 09/19/22 USDC Colorado pg 28
                                    of 37

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                  3.   PRPHA and PRDH Have ‫ס‬N Rights Under
                       the Due Proces s and Egyal Protec tion Clause s
             PRPHA and PRDH purpor t to bring Equal Protec tion and Due
    Proces s claims agains t HUD.    See Compla int, 86-90.     Neithe r
    posses ses such claims . 10

         Most fundam entally , the Equal Protec tion and Due Proces s

    clause s "relate [J to equali ty betwee n persons‫ יי‬and accord ingly

   afford no indepe ndent rights     ‫ס‬t   entitie s such as PRPHA and PRDH.
   McGowa n v. Maryla nd, 366 U.S. 420, 427 (1960) (discus sing Equal

   Protec tion); South Caroli na v. Katzen bach, 383 U.S. 323-24

    (1966) (states are not person s within meanin g of Fifth Amendm ent

   and therefo re enjoy no due proces s protec tions); East St. Louis

   v. Circui t Court for Twenti eth Judici al Circui t, 986 F.2d 1142,

   1144 (7th Cir. 1993) (munic ipalitie s are not     "persons‫יי‬   within
   meanin g of Fifth or Fourte enth Amendm ents); State of New York v.

   United States , 942 F.2d 114, 118 (2d Cir. 1991) (noting that

   states have no due proces s rights ); Reeder v. Kansas City Board

   of Police Commi ssioner s, 796 F.2d 1050, 1053 (8th Cir.), cert.

   denied , 479 U.S. 1065 (1986) (Equal Protec tion Clause "prote cts

   people ''); State of Alabam a v. United States Egyal Protec tion

   Agency , 871 F.2d 1548, 1554 (11th Cir.), cert. denied , 493 U.S.

   991 (1989) ("State of Alabam a is not include d among the entitie s


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        The Fourte enth Amendm ent by its terms does not apply to the
  federa l govern ment, see, ~ , Carter v. Distri ct of Columb ia,
  409 U.S. 418 (1973), and the Fifth Amendm ent contai ns no equal
  protec tion clause . Noneth eless, the Suprem e Court has held that
  the Fifth Amendm ent protec ts agains t the same types of invidio us
  discrim ination that the Fourte enth Amendm ent prohib its. See
  Rostke r v. Goldbe rg, 453 U.S. 57 (1981).

                                      -24-
Case No. 1:21-cv-03043-GPG-STV Document 69-4 filed 09/19/22 USDC Colorado pg 29
                                    of 37


                                                         ,
                                                         1




   protecte d by the due process clause f‫ ס‬the fifth amendme nt);
   Delta Special School Distric t No. 5 v. State Board of Educatio n
   for State of Arkansa s, 745 F.2d 532, 533 (8th Cir. 1984)
    (politic al subdivis ions of a state possess no right under Equal
   Protecti on Clause) .    Politica l entities , includin g specific ally
   PRPHA and PRDH, therefor e lack justicia ble rights under these
   amendme nts.
         PRPHA's attempt to pursue such claims against the federal
   governm ent as the supposed represe ntative of PRPHA tenants is
   similar ly without merit.     See Complai nt,   ‫ד‬   2 (PRPHA   ‫יי‬represents

   the interes ts of [PRPHA]    residents‫)יי‬.   See, ~ , South Carolina
   v. Katzenb ach, 383 U.S. 301, 323 (1966) (state cannot sue federal
   governm ent on behalf of state's citizens because "the Federal
   Governm ent []   [is] the ultimate parens patriae of every American ,
   citizen‫;)יי‬   Massach usetts v. Mellon, 262 U.S. 447, 485-86
   (1923) (same).
        Therefo re, these constitu tional claims cannot lie against
   HUD and should be dismisse d. 11

        11
        Furtherm ore, even if Ms. Alameda possesse d standing , she
  has failed to state an equal protecti on or due process claim.
  Ms. Alameda bases these claims not on the assertio n that HUD
  discrim inates against the entire class of Hispani c, Puerto
  Ricans, but on the allegati on that HUD discrim inates against
  residen ts of PRPHA many, but not all, of whom are Hispani c
  citizens of Puerto Rico. In this regard, Ms. Alameda does not
  allege that HUD treats or treated Puerto Ricans living in HUD-
  assisted public housing located outside of Puerto Rico
  discrim inatoril y although , as plaintif fs presuma bly would not
  contest, there are Hispani cs (includi ng Puerto Ricans) residing
  HUD-su bsidized public housing in numerou s location s. See, ~ ,
  Latinos Unidos, supra.; Hunting ton Branch. N.A.A.C .P. v. Town of
  Hunting ton, 844 F.2d 926, 929 (2d Cir. 1988), cert. denied, 488
                                                          ( continue d ... )
                                      -25-
Case No. 1:21-cv-03043-GPG-STV Document 69-4 filed 09/19/22 USDC Colorado pg 30
                                    of 37




          D.   The Court May Not Review HUD
               Final Agency Actions that Occurred
               More than Six Years Before the Complai nt
               Was Filed, and Must Confine its Review to
               the Admini strative Records of those Actions
               1.    The Applica ble Federal Statute
                     of Limitati ons Bars Litigati on of
                     Claims Arising from Acti6ns Taken Over
                     Six Years Prior ‫ס‬t the Filing of this Lawsuit
          28 U.S.C. § 2401(a) provide s that
         [e]xcept as provided by the Contrac t Dispute s Act of 1978,
         every civil action commenced against the United States shall
         be barred unless the complai nt is filed within six years
         after the right of action first accrues .
   "Every civil action" means what it says: it "'applie s to all
   civil actions whether legal, equitab le or mixed.' 11       Nesovic v.
   United States, 71 F.3d 776, 778 (9th Cir. 1995) (quoting Spannau s
   v. Departm ent of Justice , 824 F.2d 52, 55 (D.C. Cir. 1987)).           Of
   signific ance here, this time period unquest ionably governs APA
   claims, which are the only justicia ble claims in this proceed ing.
   See, ~ , James Maditon Ltd .• by Hecht v. Ludwig, 82 F.3d 1085,


         11
          ( • • • continue d)
  U.S. (1989) (Hispan ics in HUD-sub sidized public fuousing ); Jaimes
  v. Toledo Metropo litan Housing Authori ty, 758 F.2d 1086, 1090
   (6th Cir. 1985) ((Hispan ics in HUD-sub sidized public housing ).
  Ms. Alameda also does not allege that all residen ts of PRPHA's
  public housing are Puerto Ricans of Hispani c origin. ,S,eg
  Complai nt, , 11 ( 11 The residen ts of public housing in Puerto Rico
  are low-inco me and are predomi nantly of Hispanic origin) (emphas is
  added). Accordi ngly, Ms. Alameda attacks not HUD's alleged
  treatme nt of Puerto Ricans or Hispani cs, but rather HUD's
  treatme nt of PRPHA, a public housing provide r which happens to be
  located in Puerto Rico. As noted above, the Equal Protecti on
  Clause protect s people; this protecti on does not extend to
  places. Finally , HUD's funding of PRPHA arises from a
  contrac tual relation ship between those parties . See Complai nt,
  , 12. Ms. Alameda is not a party to that contrac t and
  accordin gly possess es no due process rights regardin g funding
  levels.

                                      -26-
Case No. 1:21-cv-03043-GPG-STV Document 69-4 filed 09/19/22 USDC Colorado pg 31
                                    of 37




    1094 (D.C. Cir. 1996); Village of Elk Grove Village v. Evans, 997

    F.2d 328, 331 (7th Cir. 1993); Wind River Mining Corp. v. United

    States, 946 F.2d 710, 712-13 (9th Cir. 1991); Balssing ame v.

    Secreta ry of the Navy, 811 F.2d 65, 70 (2d Cir. 1987).         The
    consequ ences     f‫ס‬   filing suit after the limitati ons period has run
   are unequiv ocal and disposi tive:

            'The failure to sue the United States within the period
            of limitati ons is not simply a waivabl e defense ; it
            deprive s the distric t court of jurisdic tion to
            enterta in the action. '

   Nesovic , 71 F.3d at 777-78 (citatio n omitted ).       See also Walters
   v. Secreta ry of Defense , 725 F.2d 107, 112 n.12 (D.C. Cir. 1983);

   14 Wright, Miller & Cooper, Federal Practice and Procedu re § 3654

    (1985) . 12   Since the statute of limitati ons is jurisdic tional, it
   must be strictly construe d.        See, ~ , Lehman v. Nakshian , 453
   U.S. 156, 160-61 (1981) (‫יי‬limitations and conditio ns upon which

   the Governm ent consents to be sued must be strictly observed and

   exceptio ns thereto will not be implied . ;)‫ יי‬Spannau s v. United

   States Departm ent of Justice, 824 F.2d 52, 55 (D.C. Cir. 1987).

  Accordi ngly, the statute of limitati ons begins to run when
   111
         facts which would support a cause of action are apparen t or

  should be apparen t to a person with reasona ble prudent regard for

  his     rights.‫יי‬   Rozar v. Mullis, 85 F.3d 556, 561-62 (11th Cir.
  1996) .




           12
        The jurisdic tional nature f‫ ס‬the statute of limitati ons
  arises out of princip les f‫ ס‬sovereig n immunit y. See, ~ '
  Diliber ti v. United States, 817 F.2d 1259, 1261 (7th Cir. 1987).

                                        -27-
Case No. 1:21-cv-03043-GPG-STV Document 69-4 filed 09/19/22 USDC Colorado pg 32
                                    of 37




                The Complai nt affirma tively states that PRPHA and PRDH were
   fully aware of the alleged unfairne ss in HUD's approach to

   calcula ting PRPHA's subsidie s as early as 1970.                    See Complai nt,
   f‫ד‬/‫ר‬   14-16, 26 (describ ing alleged ly discrim inatory              ‫יי‬deficit­

   funding method‫ יי‬applica ble to PRPHA from 1970 to 1989).

   Moreove r, these plainti ffs were aware of their claims that

   PRPHA's AEL was alleged ly inequita bly low when it was set in

   1989, and when HUD purport edly refused to allow an appeal of the

   subsidi zation level.         See id.,    ,r 28.     Therefo re, since the basis
   for their claims were known ‫ס‬t plainti ffs, but they did not file

   suit within the applica ble six years period, their claims dating

   from actions taken prior to March 14, 1990, are time-ba rred. 13

                    2.   Since the Court's Review
                         f‫ ס‬HUD's Actions Is Confined
                         to the Appropr iate Records ,
                         Plainti ffs Are Not Entitled to Discove ry
           The APA specifi cally contemp lates that judicia l review f‫ס‬

   agency action will be undertak en on the basis                 f‫ס‬    the record
   compiled by the agency in the course of informa l proceed ings in

   which a hearing has not been held.                 Florida Power & Light v.
  Lorion, 470 U.S. 729, 743-44 (1985).                  "The factfind ing capacity
  of the distric t court is thus typicall y unneces sary to judicia l

  review of agency decisionmaking.‫יי‬               ,IQ. at 744.        Instead, a

           13
        As a practic al matter, it should be noted that even in the
  unlikely event that plainti ffs were to prevail in this action,
  the Court's limitati on on their claims to the past six years
  would not affect the substan tive nature of either prospec tive or
  retroac tive relief.  In this regard, plainti ffs seek an order
  directin g HUD ‫ס‬t make monetar y payment s for alleged underfun ding
  only for fiscal years 1993 through 1996, or less than six years
  ago. See Complai nt, prayer for relief, pg. 26.

                                            -28-
Case No. 1:21-cv-03043-GPG-STV Document 69-4 filed 09/19/22 USDC Colorado pg 33
                                    of 37




   reviewin g court's task is to apply the appropr iate APA standard
   of review, 5 U.S.C. § 706, to the agency decision                ‫יי‬based   on the
   record the agency presents to the reviewin g court."                Id. at 743-
   44 (emphas is supplied ) (citing Citizens to Preserve Overton Park
   v. Volpe, 401 U.S. 402 (1971)).           Accord PBGC v. LTV, Corp., 496
   U.S. 633, 656 (1990); Camp v. Pitts, 411 u.s. 138, 142
   (1973) ("f‫ס‬cal point for judicia l review should be the
   adminis trative record already in existenc e, not some new record
   made initiall y in the reviewin g court").          This Circuit , of
   course, also abides by this princip le.           See, ~ , Cousins , 880
   F. 2d at 610 ( 11 APA review typicall y takes place on the basis of a
   record compiled by the agency in making the challeng ed
   decision . 11 ) .     Where a federal agency' s action   11
                                                                 is reasona bly
   supporte d by the adminis trative record,         [the court's] inquiry
  must end. 11         Town of Norfolk v. U.S. Army Co‫;ב‬:ps of Enginee rs, 968
   F.2d 1438, 1448 (1st Cir. 1992) .~
         Accordi ngly, the Court should order that no discove ry be
  taken in this matter and that HUD be required only ‫ס‬t produce
  relevan t adminis trative records . 15

         14
        Signific antly, this Circuit has express ly held that
  restrict ing review to the agency' s adminis trative record in no
  way places the party challeng ing the agency's action at a
  disadva ntage and has rejected efforts, such as those made in this
  case, to 11 build a record in the distric t court. 11 See Cousins,
  880 F.2d at 610.
         15
        To the extent that this request may be construe d as a
  motion relating to discove ry, as the Court is aware, the parties
  have met to discuss this motion and agreed, with the Court's
  approva l at the August 16, 1996 status conferen ce, to submit
  briefing on the proprie ty of discove ry. Accordi ngly, the parties
  have effectiv ely complied with Local Rule 311.11.

                                          -29-
Case No. 1:21-cv-03043-GPG-STV Document 69-4 filed 09/19/22 USDC Colorado pg 34
                                    of 37




                                 IV.   CONCLUSION
          For the foregoin g reasons, the Court should dismiss all
    claims asserted by plainti ffs except the APA claims stated by

    PRPHA and PRDH in Count IV of the Complai nt.         Furtherm ore, the
    Court should hold that the federal statute of limitati ons bars

    claims arising more than six years prior to the March 14, 1996,

   filing of this action and should limit its review of the

   survivin g APA claims to HUD's adminis trative record.

   Dated:    Oct.   _,i_, 1996         Respect fully submitte d,
   OF COUNSEL:                         FRANK W. HUNGER
                                       Assista nt Attorney General
   HOWARD SCHMELTZER
   MAURA MALONE                        GUILLERMO GIL
   Office of General Counsel           United States Attorney
   U.S. Departm ent of Housing
        and Urban Developm ent
   451 7th St., S.W.
   Washing ton, D.C.
   (202) 708-0300
                       20410                  ;;dJ ..uv;'J/t1:~~ /Lrh‫י‬
                                       FIDEL SEVILLANO       ,
                                       Assista nt United States Attorney



                                        ~_} Or‫ח‬J~
                                       MICHAEL SITCOV
                                                              ~
                                       Assista nt Branch Directo r
                                       LOIS BONSAL OSLER
                                       Trial Attorney
                                       U.S. Departm ent of Justice
                                       Civil Division
                                       Federal Programs Branch
                                       901 E Street, N.W.
                                       Room 990
                                       Washing ton, D.C. 20530
                                       (202) 514-3770
                                       Attorney s for Defenda nt




                                       -30-
Case No. 1:21-cv-03043-GPG-STV Document 69-4 filed 09/19/22 USDC Colorado pg 35
                                    of 37

                                                        _,,



                     IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF PUERTO RICO

                                       )
   THE PUERTO RICO PUBLIC              )
   HOUSING ADMINISTRATION,             )
   _gt_ al.,                           )
                                       )
         Plainti ffs,                 )
                                      )
               v.                     )       C. A. No. 96-1304 (PG)
                                      )
   UNITED STATES DEPARTMENT           )
   OF HOUSING AND URBAN               )
   DEVELOPMENT, et al . ,             )
                                      )
   ____ ____________
      Defenda nts.                    )
                                      )

                                      ORDER
         Upon conside ration of Defenda nts' Motion for Partial

   Dismiss al and ‫ס‬t Limit Discove ry, the memorand um in support

   thereof, the opposit ion thereto and the record in this matter,

        IT IS HEREBY ORDERED THAT Defenda nts' Motion for Partial

  Dismiss al and to Limit Discove ry be and hereby is granted ; and

        IT IS FURTHER ORDERED THAT all claims asserted by plainti ff

  Myriam Alameda be and hereby are dismisse d with prejudic e; and

        IT IS FURTHER ORDERED THAT, with the exceptio n of claims

  asserted by plainti ffs Puerto Rico Public Housing Adminis tration

  and Puerto Rico Departm ent of Housing under the Adminis trative

  Procedu re Act, 5 U.S.C. § 533, et seq., as set forth in Count IV

  of the complai nt, all claims asserted by plainti ffs Puerto Rico

  Public Housing Admi~i stration and Puerto Rico Departm ent of

  Housing be and hereby are dismisse d with prejudic e; and

        IT IS FURTHER ORDERED THAT claims asserted by plainti ffs

  Puerto Rico Public Housing Admini stration and Puerto Rico

  Departm ent of Housing under the Admini strative Procedu re Act, 5
Case No. 1:21-cv-03043-GPG-STV Document 69-4 filed 09/19/22 USDC Colorado pg 36
                                    of 37




   U.S.C. § 533,    ~   seg., as set forth in Count IV of the complai nt,
   which arise from actions occurrin g prior to March 14, 1990, be

   and hereby are dismisse d with prejudic e; and

           IT IS FURTHER ORDERED THAT defenda nt United States

   Departm ent of Housing and Urban Developm ent shall provide

   adminis trative records to Puerto Rico Public Housing

   Admini stration and Puerto Rico Departm ent of Housing which relate

   to these plainti ffs' claims under the Admini strative Procedu re

   Act, 5 U.S.C. § 533, et seg., as set forth in Count IV of the

   complai nt, which arose from actions occurrin g prior to March 14,

   1990; and

         IT IS FURTHER ORDERED THAT no discove ry shall be served or

   otherwi se engaged in by either party.




  Dated:
                                UNITED STATES DISTRICT COURT JUDGE




                                      -2-
Case No. 1:21-cv-03043-GPG-STV Document 69-4 filed 09/19/22 USDC Colorado pg 37
                                    of 37




                             CERTIFICAT E OF SERVICE
         I certify that true and correct copies        f‫ס‬   Defendant s' Motion
    for Partial Dismissal and to Limit Discovery , Memorandum of

   Points and Authoriti es in Support      f‫ס‬   Defendant s' Motion for
   Partial Dismissal and to Limit Discovery and proposed order were

   served by hand, addressed to:

                            James F. Hibey, Esq.
                            William R. Sherman, Esq.
                            Lisa K. Hsiao, Esq.
                            Verner, Liipfert, Bernhard
                              McPherson and Hand, Ctd.
                            901 15th Street, N.W.
                            Suite 700
                            Washingto n, D.C. 20005.




   Dated: Oct.   j , 1996                            ;?%:> / f. a~
